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 9                         UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
11
12
13   Nosirrah Management, LLC, a Delaware                      '21CV1316 CAB JLB
                                                     Case No. ___________________
14   limited liability company,
                            Plaintiff,               COMPLAINT FOR
15                                                   RECOVERY OF SHORT-
16                v.                                 SWING PROFITS UNDER 15
17   Franklin Wireless Corp., a Nevada               U.S.C. § 78p(b)
     corporation,
18                                                   DEMAND FOR JURY TRIAL
                            Nominal Defendant,
19
                  and
20
     O.C. Kim, a California resident,
21
                            Defendant.
22
23
24         For its Complaint, Plaintiff Nosirrah Management, LLC (“Plaintiff”) hereby
25   alleges as follows:
26         1.     This is an action to recover “short swing” profits under Section 16(b)
27   of the Securities Exchange Act of 1934, as amended (the “1934 Act”), 15 U.S.C. §
28   78p(b).
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 1                            JURISDICTION AND VENUE
 2         2.     This Court has jurisdiction under Section 27 of the 1934 Act, 15
 3   U.S.C. § 78aa.
 4         3.     Venue is proper in this district because defendants are inhabitants or
 5   transact business in San Diego, California.
 6                                        PARTIES
 7         4.     Plaintiff, a Delaware limited liability company, is a shareholder of
 8   Nominal Defendant Franklin Wireless Corp. (“Franklin Wireless”).
 9         5.     Upon information and belief, Nominal Defendant Franklin Wireless is
10   a provider of wireless solutions, including mobile hotspots, routers, trackers, and
11   other devices, and is a corporation of Nevada having a principal place of business
12   at 9707 Waples St #150, San Diego, California 92121. This action is brought in the
13   right and for the benefit of Franklin Wireless, which is named as a defendant solely
14   to bring all necessary parties before the Court.
15         6.     Upon information and belief, Defendant O.C. Kim has served as
16   President of Franklin Wireless since 2003 and is a resident at 13044 Deer Park
17   Way, San Diego, California 92130.
18                               BACKGROUND FACTS
19         7.     At all relevant times, the common stock issued by Franklin Wireless
20   was registered under Section 12(g) of the 1934 Act, 15 U.S.C. § 78l.
21         8.     On October 5, 2020, a Form 4 “Statement of Changes in Beneficial
22   Ownership” was filed with the Securities and Exchange Commission (“SEC”) by
23   Defendant Kim (the “October 5 Form 4”). The October 5 Form 4 reported a
24   purchase of Franklin Wireless common stock made on September 25, 2020 (the
25   “September 25 Purchase”):
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                                              -2-       COMPLAINT FOR RECOVERY OF SHORT-
                                                        SWING PROFITS UNDER 15 U.S.C. § 78p(b)
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 7         9.     The October 5 Form 4 disclosed several anomalies. First, it was filed
 8   six business days after the September 25 Purchase, in violation of SEC Rule 16a-
 9   3(g)(1), which requires reporting within two business days of changes of beneficial
10   ownership which fall under the reporting requirements of Section 16.
11         10.    Second, the closing price of Franklin Wireless stock on September 25,
12   2020 was $15.97 per share, yet the September 25 Purchase was made at a price of
13   $2.50 per share, a nearly 85% discount. When asked about this discrepancy,
14   counsel for Franklin Wireless stated:
15         Almost half of Franklin shares are restricted and over 150 shareholders hold
16         paper certificates. Many of those shareholders also live in South Korea.
17         Historically, Franklin shares have traded around $2.50 per share. These
18         factors are all part of the context of these transactions.
19   Requests for further detail as to how the $2.50 price was determined revealed little
20   except reiterations that many of the company’s shareholders are in South Korea
21   and purportedly have no means of selling their shares other than private non-
22   market sales.
23         11.    Third, although the October 5 Form 4 reported that 400,000 securities
24   were acquired, it only identified 160,000 shares as beneficially owned following
25   the transaction. When asked about this mismatch, counsel for Franklin Wireless
26   responded on March 1, 2021, that there was an error in reporting the number of
27   shares and that the transaction was, in fact, an acquisition of 160,000 shares at an
28   aggregate price of $400,000. Counsel stated on March 1, 2020 that he expected an

                                               -3-      COMPLAINT FOR RECOVERY OF SHORT-
                                                        SWING PROFITS UNDER 15 U.S.C. § 78p(b)
                                                                         Case No. __________
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 1   amended Form 4 would be filed correcting this error. As of the date of this
 2   complaint, no amendment to the October 5 Form 4 has been filed.
 3         12.    Fourth, the September 25 Purchase was reported on Form 4 as an
 4   indirect beneficial ownership by Defendant Kim by Code I in column 6, with the
 5   purchase made “By child” in column 7. The child was later identified upon
 6   plaintiff’s request as Ms. Rachel (Haesook) Kim. Yet later, counsel for Franklin
 7   Wireless stated that Rachel Kim had maintained a separate household from
 8   Defendant Kim for at least eight years and that Defendant Kim had “no pecuniary
 9   interest in or control over the shares owned by his daughter.”
10         13.    On December 31, 2020, when Franklin Wireless shares closed at a
11   price of $23.50 per share, Defendant Kim sold 500,000 shares in a private
12   transaction at a price of $15.00 per share (the “December 31 Sale”). The December
13   31 Sale was reflected in a Form 4 filed by Defendant Kim with the SEC, also late,
14   on January 12, 2021, seven business days after the sale occurred.
15         14.    The December 31 Sale at $15.00 per share was at a higher price than
16   the September 25 Purchase at $2.50 per share and occurred within six months of
17   the September 25 Purchase.
18         15.    As President of Franklin Wireless, Defendant Kim is and was at all
19   relevant times an “insider” for the purposes of Section 16 of the 1934 Act, 15
20   U.S.C. § 78p.
21         16.    On January 12, 2021, Plaintiff sent an email to Franklin Wireless
22   identifying the above transactions as a violation of Section 16(b) of the 1934 Act,
23   15 U.S.C. § 78p(b), and demanding that the company take action to recover all
24   profits received by Defendant Kim from these and any other short-swing trades.
25         17.    Franklin Wireless responded through counsel on February 12, 2021,
26   stating that the Board had investigated the transactions and determined they were
27   not in violation of Section 16(b) because the September 25 Purchase was made by
28

                                              -4-      COMPLAINT FOR RECOVERY OF SHORT-
                                                       SWING PROFITS UNDER 15 U.S.C. § 78p(b)
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 1   Defendant Kim’s daughter while the December 31 Sale was made by Defendant
 2   Kim.
 3          18.   The irregularities in the October 5 Form 4 and other facts outlined
 4   here cast significant doubt on this explanation. Rachel Kim is approximately 30
 5   years old, obtained her Doctor of Pharmacy degree from the University of
 6   California, San Francisco, in 2017, and has worked as an inpatient pharmacist at
 7   UC San Diego Health since October 2018. According to Franklin Wireless, Rachel
 8   Kim had the independent financial means to pay $400,000 for 160,000 shares of
 9   Franklin Wireless stock which she possibly purchased from a relative in South
10   Korea.
11          19.   Plaintiff requested further information from Franklin Wireless to
12   investigate whether Rachel Kim in fact purchased the shares independent of
13   Defendant Kim’s pecuniary interest in or control over the shares.
14          20.   In response to Plaintiff’s questioning of Rachel Kim’s investment
15   experience and financial ability to pay $400,000 for the shares, Franklin Wireless
16   disclosed that her income for the past three years was $153,578 (2020), $167,574
17   (2019), and $98,661 (2018) and that, aside from the 160,000 Franklin Wireless
18   shares, her investment portfolio includes only $35,000 in a 401(k) and IRA.
19   Franklin Wireless indicated that, over the past three years, although Defendant
20   Kim has not provided support for Rachel Kim’s living expenses, he did provide a
21   $100,000 loan (which has been paid in full) for a down payment for a September
22   2019 purchase for $760,000 of a home that is valued at that same amount.
23          21.   The information provided by Franklin Wireless showed that Rachel
24   Kim is not an experienced investor and did not have the financial ability to pay for
25   the shares solely from her own funds. According to Franklin Wireless, the source
26   of funds for Rachel Kim’s home purchase was (a) $175,000 of her own funds; (b)
27   $100,000 from her mother; and (c) a $485,000 mortgage loan from Wells Fargo
28   Bank with a 30-year term.

                                              -5-      COMPLAINT FOR RECOVERY OF SHORT-
                                                       SWING PROFITS UNDER 15 U.S.C. § 78p(b)
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 1         22.    Aside from financial considerations, Plaintiff also sought to
 2   understand the extent of Defendant Kim’s involvement in arranging the share
 3   purchase for his daughter.
 4         23.    Franklin Wireless’s explanation showed that Defendant Kim in fact
 5   arranged the share purchase. According to Franklin Wireless, in August 2020,
 6   Defendant Kim introduced Rachel Kim to a seller in Korea who was eager to sell
 7   the shares even at their original investment cost, because the seller had apparently
 8   been unable to sell the shares due to Korean government restrictions preventing the
 9   sale of paper shares through Korean securities companies and the fact that virtually
10   no Korean securities companies handle OTC shares due to limited trading volume.
11   (Plaintiff has not independently verified these explanations.) After Rachel Kim
12   hesitated due to the cost, the seller and Rachel Kim entered into an agreement
13   under which the seller agreed to sell her shares “on a contingent payment basis,
14   with a deadline of December 31, 2023.”
15         24.    Considering the information from Franklin Wireless showing that
16   Defendant Kim in fact orchestrated the September 25, 2020 share purchase,
17   Plaintiff was left with significant doubt as to Defendant Kim’s independence from
18   the share purchase. Thus, Plaintiff has requested further information about the
19   circumstances of the agreement with the seller in Korea, including: (1) information
20   explaining the meaning of the phrase “on a contingent payment basis with a
21   deadline of December 31, 2023”; (2) a copy of the purchase contract and an
22   explanation of how Rachel Kim paid or intends to be able to pay the $400,000
23   purchase price; (3) an explanation as to why Defendant Kim chose to introduce
24   Rachel Kim to a buyer rather than purchasing the shares himself, including
25   whether Defendant Kim was already in discussions with the investment group that
26   purchased shares in December 2020 or was expecting that he might be selling
27   shares in December 2020 (i.e., within six months); and (4) an explanation as to
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                                              -6-      COMPLAINT FOR RECOVERY OF SHORT-
                                                       SWING PROFITS UNDER 15 U.S.C. § 78p(b)
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 1   what convinced Rachel Kim to commit $400,000 to a single block of shares,
 2   considering Rachel Kim’s overall finances and much smaller investment portfolio.
 3         25.    As of the filing of this complaint, Franklin Wireless has failed to
 4   provide the additional information sought by Plaintiff. Upon information and
 5   belief, Franklin Wireless has taken no further action with regard to Defendant
 6   Kim’s trades of September 25, 2020 and December 31, 2020.
 7         26.    Despite Franklin Wireless’ claims that Defendant Kim does not have
 8   pecuniary interest in or control over the shares purchased by Rachel Kim, Franklin
 9   Wireless has not filed an amended Form 4 with the SEC. Thus, Defendant Kim has
10   not clarified his SEC filing to state clearly that he has no pecuniary interest in the
11   shares purchased on September 25, 2020.
12         27.    Taking into account all of the facts recited above, including (i)
13   Defendant Kim's having arranged the purchase in his daughter's name despite
14   resistance on her part, (ii) Rachel Kim's apparent absence of any financial
15   experience or wherewithal that would justify this large purchase of a speculative
16   stock, and (iii) the unexplained so-called "contingent payment basis" for her share
17   purchase, an inference should be drawn that Defendant Kim had a pecuniary
18   interest in and control over the shares purchased in Rachel Kim's name.
19         28.    The September 25, 2020 purchase and the December 31, 2020 sale
20   resulted in Defendant Kim realizing a profit of no less than $2,000,000.00
21   calculated using the “lowest-in, highest-out” method.
22         29.    This action is brought within two years of the violations described in
23   this Complaint or within two years of the time when the transactions were
24   disclosed in SEC filings as required by Section 16(a) of the 1934 Act. 15 U.S.C. §
25   78p(a).
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                                               -7-       COMPLAINT FOR RECOVERY OF SHORT-
                                                         SWING PROFITS UNDER 15 U.S.C. § 78p(b)
                                                                          Case No. __________
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 1                                 CLAIM FOR RELIEF
 2               (Recovery of Profits Under Section 16(b) of the 1934 Act)
 3         30.    Plaintiff incorporates by this reference all of the allegations stated in
 4   the above paragraphs.
 5         31.    Defendant Kim purchased and sold Franklin Wireless common stock
 6   within a six-month period.
 7         32.    Defendant Kim realized profits of $2,000,000.00 in connection with
 8   this purchase and sale.
 9         33.    As President of Franklin Wireless, Defendant Kim was a Franklin
10   Wireless insider subject to Section 16(b) of the 1934 Act, 15 U.S.C. § 78p(b) at the
11   time of the purchase and sale of the Franklin Wireless stock.
12         34.    As of the date of this Complaint, Defendant Kim has failed to account
13   for and disgorge the entirety of his short swing profits from the September 25 and
14   December 31, 2020 purchase and sale despite Plaintiff’s January 12, 2021 demand.
15         35.    As a result, Defendant Kim and Franklin Wireless are in breach of
16   Section 16(b) of the 1934 Act.
17         36.    In the event that Defendant Kim made other purchases and sales of
18   Franklin Wireless stock within the above or any other six-month period resulting in
19   short-swing profits, such transactions are also a breach of Section 16(b) of the
20   1934 Act requiring disgorgement by O.C. Kim to Franklin Wireless.
21         37.    Through such purchases and sales or sales and purchases, Defendant
22   Kim realized profits the exact amounts which are unknown to Plaintiff, which
23   inure to the benefit of, and are recoverable by, Plaintiff on behalf of Franklin
24   Wireless.
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                                               -8-      COMPLAINT FOR RECOVERY OF SHORT-
                                                        SWING PROFITS UNDER 15 U.S.C. § 78p(b)
                                                                         Case No. __________
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 1                                 PRAYER FOR RELIEF
 2         Therefore, Plaintiff prays for the following relief:
 3         A.     All short-swing profits realized in violation of Section 16(b) of the
 4   1934 Act, minus any disgorgement previously made, along with appropriate
 5   interests and the costs of this action;
 6         B.     Pre-judgment and post-judgment interest on such monetary relief;
 7         C.     The costs of bringing this suit, including reasonable attorney fees; and
 8         D.     All other relief to which Plaintiff may be entitled at law or equity.
 9                                 JURY TRIAL DEMAND
10         Pursuant to Fed. R. Civ. P. 38(b)(1) and (c), and L.R. 38.1, Plaintiff hereby
11   demands a jury trial on all the issues in this action so triable of right by a jury.
12
13                                              Respectfully submitted,
14   Dated: July 20, 2021                       STERLINGTON, PLLC
15                                              By: s/Ann Jernow
16                                                    Attorneys for Plaintiff
17                                                    Email: ajernow@sterlington.net
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                                                -9-       COMPLAINT FOR RECOVERY OF SHORT-
                                                          SWING PROFITS UNDER 15 U.S.C. § 78p(b)
                                                                           Case No. __________
